251 F.2d 299
    Josephine DAVIDITIS, also known as Josephine Davis, StellaC. Davis and Betty Horrigan, Plaintiffs-Appellants,v.The NATIONAL BANK OF MATTOON, Mattoon, Illinois, a BankingCorporation, Defendant-Appellee.
    No. 12112.
    United States Court of Appeals Seventh Circuit.
    Jan. 22, 1958.
    
      Stella C. Davis and Betty Horrigan, pro se.
      Ray M. Foreman, Danville, Ill., for appellee.
      Before MAJOR, FINNEGAN and PARKINSON, Circuit Judges.
      PARKINSON, Circuit Judge.
    
    
      1
      The plaintiffs, pro se, filed a complaint in the District Court for the Eastern District of Illinois asserting 'Jurisdiction In This Cause Is Based On Title 28, Section 1331 of the U.S.Code' and alleging therein that the 'allegations were violations of Title 12 U.S.C. section 1818-- unsound practices and violations of the National Bank Act.'
    
    
      2
      The complaint alleges that the plaintiffs are residents of Chicago, Illinois and the defendant is also a citizen of Illinois.  Diversity of citizenship is, therefore, absent.
    
    
      3
      In oral argument before this court the plaintiffs contend that the District Court had jurisdiction because their civil rights were violated and the defendant violated the National Banking Laws.
    
    
      4
      The complaint is such a gallimaufry that it is impossible to determine any theory upon which it declares.  It appears to attempt to allege fraud on the part of the defendant in opening a lock box of decedent, William Daviditis, alias William Davis, and in being appointed administrator of and in administering his estate in the Coles County Probate Court of Illinois.  Absolutely no facts are pleaded showing a federal question present pursuant to Title 28 U.S.C.A. 1331 or a violation of civil rights which would confer jurisdiction on a federal court.  Title 12 U.S.C.A. 1818 provides for termination of status as an insured bank by the Board of Directors of the Federal Deposit Insurance Corporation and has no application here whatsoever.
    
    
      5
      The District Court was correct in dismissing the complaint for lack of jurisdiction of the subject matter and the judgment is affirmed.
    
    